Case 17-12708   Doc 211   Filed 07/03/19 Entered 07/03/19 12:25:29   Desc Main
                           Document     Page 1 of 8



                          Amended Exhibit A
                     Purchase and Sale Agreement
Case 17-12708         Doc 211      Filed 07/03/19 Entered 07/03/19 12:25:29               Desc Main
                                    Document     Page 2 of 8




                            PURCHASE AND SALE AGREEMENT
          AGREEMENT made as of this           day ofJune, 2019, by and between John O.

Desmond, the duly-appointed Chapter 7 trustee of the bankruptcy estate of Paul Francis (the

"Debtor"), Chapter 7 Case No, 17-12708-FJB (the "Seller" or the "Trustee") and PCS.

Residential, LLC (the `Buyer.").

          WHEREAS, on July 21,.201.7, the Debtor filed a voluntary petition pursuant to Chapter

 13 of the Bankruptcy Code (the "Petition Date"); and

          WHEREAS, on September 26, 2017, the Court entered an order granting the Debtor's
motion to Convert the case to Chapter 11.; and

          WHEREAS, on March 20; 2018, the Court entered an order converting the case to

Chapter 7; and

          WHEREAS, on March 21i 2018, the Trustee was appointed as the Chapter 7 Trustee of

the bankruptcy estate of the Debtor; and

          WHEREAS, the Debtor and his spouse took title to 156 Norfolk Street, Dorchester,

Massachusetts by a deed:reeorded with the Suffolk County Registry of Deeds in.Book 39446,

Page 202. (the "Subject Real Estate") as tenants by the entirety; and

          WHEREAS, on April 10, 2018; the Trustee filed an adversary complaint against Ruth.

Francis, the tion-debt& spouse, pursuant to Section 363(h) of the Bankruptcy.Code (the.

"Adversary, Complaint"); and:

          WHEREAS, on July 10, 2018; the Trustee filed a Motion for Sintintary Judgment

concerning the Adversary Complaint and Ruth Francis filed an Opposition on August 19, 2018

and a hearing was held on the Trustee's Motion for Summary Judgment on August 30, 2018; and




10075.332v1
Case 17-12708        Doc 211        Filed 07/03/19 Entered 07/03/19 12:25:29                   Desc Main
                                     Document     Page 3 of 8




        WHEREAS, on March 18,2019, the courtentered judgment.in, favor'of the Trustee;

 determining that the. Trustee maysell both the interests of the bankruptcy estate and Ruth Francis

 in the Subject Real Estate pursuant to Bankruptcy Code Section 3,63(h); and

        WHEREAS, the Buyer wishes to purchase. from the:Trustee. the. Subject Real Estate.

        NOW THEREFORE, the SELLER and BUYER agree as follows:

        1.      Asset to be Transferred. The Trustee; agrees.tO sell and transfer; and the Buyer

 agrees.to buy; subject to the conditions contained herein, the Subject Real Estate.

        .2..    Purchase Price. The Buyer agrees 'to pay as.a total purchase price forth Subject.

Real Estate-the amount ofTWO.HUNDRED THOUSAND dollars and 00/1.00. ($200,000:0Q) in

:consideration .of the sale and. transfer of the Subject Real Estate (the "PurchaseP.rite").

        3.      Deposit. The Buyer has paid herewith te.the Seller the amount of $50,000..as a

 deposit (the 'Depose). The Seller will hold the Deposit 'in a non-interest beating account

.pending court approval of the sale to the. Buyer. Atthe closing, the Seller shall be entitled to.

releasethe DepoSit. 'The Deposit is refundable only if: CO' the Bankruptcy Court.enters am order

allowing the saleof. the Subject Real. Estate toa party other than the.Buyer; (2) the Trustee sells

the.Subject Real Estateto.a party Other thap.the Buyer; (3) or the Trustee does not obtain

authority from the Bankruptcy *court to sell. the Subject Real Estate, or; having obtained

authotity; is: unable to perform.

        4.     Bankruptcy Court Approval. The obligations of the Trustee to sell and:transfer

and *obligations of th:e Buyer to purchase are expressly conditioned upon the approval by the

United States Bankruptcy Court of the Chapter 7 TrUstee's.Motion for Authority to Sell by

PIA Vate Sale Certain Property Subject.to Certain Liens, Chilli's and EneumbranceS.whieh. will be:

filed inthe Debtor's harilatiptcy case (the."Motion to.Seln. The Buyer is aware that the Trustee.



                                                  2
1007533M
Case 17-12708        Doc 211       Filed 07/03/19 Entered 07/03/19 12:25:29                   Desc Main
                                    Document     Page 4 of 8




will provide advance notice: of the Motion to Sell to all Creditors. and other entities selected-by

the Trustee, whO in.tilrig may objectto thiS.proposed saleor.submitcounteroffers. The Buyer

understands that in the event the Trusteereceives one.Or more higher counteroffers for the

 Subject Real Estate, a sealed bid 'auction, live auction or a combination..of the two will be

 e.onducted .at:th.e Bankruptcy Court.

        S.      Closing. A clbSing shall take place at the office of Murtha Cullimi LLP, 99 High

.Street,Boston, Massachusetts within. 15.days after the entry of an Order approving the Trustee's

MOtion to Sell the Subject Real Estate unless.an appeal has been tiled

eriters.an order staying'the sale (the.:"Closing") at angutually convenient date and tinge.

                Title Deed. The. Subject Real Estate is tobe conveyed bya good and sufficient.

fiduciary's deed running to. the Buyer, or to a nominee designated by the Buyer by written notice

to the Seller at.least two (2) business.days before the deedis. to be delivered. as herein provided.

        :7.     .Sale is Free.and Clear.of all Liens, Claims, Encumbrances and Interests. The

Stihject Real Estatewill be'sold freeand..dlear of all liens, claims, encumbrances andinterests,

with all liens, 'claims, encumbrances and interests attaching to the proceeds of the sale to the.

same.extent,andin...the'same order ofpribrity as such liens, .elaims,.encumbrances and interests.

attached to the Subject Real Estate pursuant'to state law.

        S..     Representations and Warranties. The SubjecfReal Estate is being 'sold "AS IS"

and "WHERE IS" without any representations.or warranties of any kind. The:Subject Real

Estate.is being sold WithOut any representation or warranty; .express or implied., including

representations or warranties as to its condition; fitness for habitation, status of any tenants,

conformity to 'any applicable. state or local zoning, building,. health and sanitary codes, or

compliance,with Any. federal, 'state orlocafenViropmeritalstatutes, regulations, ordinances or by-



                                                  3:
1007532v1
Case 17-12708         Doc 211       Filed 07/03/19 Entered 07/03/19 12:25:29                   Desc Main
                                     Document     Page 5 of 8




laws including lead paint arid smoke detector laws andregulations. The TruStee makes no

representation as to the. existence of tenants at the Subject Real Estate and if any such tenants do

'exist; the status of Said tenancies: It shall be Buyer's sole responsibility to deal. with and evict if

necessary, any tenants at the Subject Real Estate... The:Trustee has nOteollected any rent or

security deposits from any such tenants: and makes no representationS as to whether the Debtor

and/or Ruth Francis has collected..any rent or received any security deposits.

         9.      .Acceptance of Deed: The. acceptance .and recording of a deed'bythe Buyer or his.

nominee as the case., may be,.shall be deemed tobe a..full performance and discharge .of every

agreement        obligation herein contained or expressed, exceptsuch as are, by the terms hereof,

to be perfonnedafter the delivery of said deed.

         10:     Closing Costs. The Trustee: shall pay (a) Municipal taxes, and any water,.sewer

and other utility charges owed to. City of Boston which shall be prorated as of theClosing and (b)

deed stampS payable to the Registry of Deeds. Buyer shall pay all other recording fees and costs

at ClOsing.

         11,     Buyer's Default, lithe Buyer shall fail to fulfill his obligations herein, all

deposits made hereunder by the Buyer shall be retainedbythe Seller as liquidated .damages and

this shall be Seller's sole and exclusive remedy inboth equity and at law.

         1.2.    Contingencies. There are no contingencies to the sale. of the Subject Real Estate.

other than Bankrilptcy Court approval of the:Motion to Sell the SubjectReal,Estate to the Buyer.

         13...   Nonrecourse. The. Trustee is.executing.this Agreement in.a fiduciary capacity;

only the bankruptcy estate shall be bound; and the Trustee shall not. bepersonally liable fOr any

obligation, expressed               hereunder. Buyer shall indemnify and hold the Trustee.




10P753pvl-
Case 17-12708          Doc 211      Filed 07/03/19 Entered 07/03/19 12:25:29                  Desc Main
                                     Document     Page 6 of 8




. harmless from any claim, daMage, fine, assessment, and. liability asserted againSt the Trustee

 after the Closing arisingfrem the Subject Real Estate.

           14.    'Modification. This Agreement contains      entire agreement of the: partie$ arid.

May be amendedonly by written instrument' igned bythe partieS.

           1.5.   Assignment. The .Buyer may aSsigp its rights and obligations under this

Agreement to a nominee entity. as provided abOve without the neeCI of further approval from the.

Trustee:or the nankruptcy..Court.

           16.    Entire Agreement. ThiS.Agreetrient §hall..constitute the .complete.agreement and

understanding of the parties hereto with respect to the transactions contemplated.hereby and

.sopOrqodes.all prioragreoments and understandings, written or oral„ and may be. amended only

by Written instrument signed by both .of them. 'TO the, extent that there is any conflict between.

the terms Of the Notice. of Sale served in accordance with Section 363 of the. Bankruptcy Code

and this Agreement;. the terms 'of this Ag eenientshall control. This Agreement shall be

.construedin accordance with the laws ofTho Commonwealth of Massachusetts and Title .1,1 of

the United 'States Code.

          17.     Authority of Parties.. Edell of the undersigned parties represents and warrants

that: .(i) it has all necessary power and authority to execute. and dellYer this Agreement. and 'to

;perfOrrn.its respective obligations.hereunder;.(iij this Agreement has been 'duly .and.validly

delivered; and constitutes A:legal, valid and binding 'obligation; and (iii) except for approval of

the Bankruptcy CoUrt, no authorization, consent, approval 'or other action .is or will be necessary

as a condition to execution and delivery of this Agreement.and the performance of the'

obligations hereunder.




19075332.v1-
Case 17-12708          Doc 211      Filed 07/03/19 Entered 07/03/19 12:25:29                Desc Main
                                     Document     Page 7 of 8




            18.   Execution in Counterparts. For the convenience of the parties and to facilitate

execution, this Agreement may be executed in two or more counterparts, each of which shall be

deemed an original, but all of which shall constitute one and the same document.

            19.   Advice of Counsel. The Buyer confirms that he has obtained the advice of

counsel of its choice in connection with the execution of this Agreement.

        IN WITNESS WHEREOF, the parties have executed this Agreement in two counterparts

on the day and year first above written.



The Buyer hereby agrees to purchase on the terms set forth above.




        The Trustee agrees to sell and transfer on the terms set forth above.



Witness                                        John 0. Desmond, Chapter 7 Trustee
                                               for the Bankruptcy Estate of Paul Francis
                                               and not personally




                                                  6
100753320
Case 17-12708         Doc 211      Filed 07/03/19 Entered 07/03/19 12:25:29             Desc Main
                                    Document     Page 8 of 8



             IN WITNESS WHEREOF, the parties have executed this Agreement in two counterparts

 on the day and year first above written.



 The Buyer hereby agrees to purchase on the terms set forth above.




 Witness                                                 Buyer:



                Trustee agrees to sell and transfer on the terms set forth above.



                                                 John 0. Desmond, Chapter 7 Trustee
                                                 for the Bankruptcy Estate of Paul Francis

                                                                                    74-/ f
                                                 and not personally




                                                    6
10066029v1
